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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF GEORGIA
                                  COLUMBUS DIVISION

JEFFERY MCBRIDE,                                *

                     Petitioner,                *
v.                                                   Case No. 4:20-CR-20-CDL-MSH-001
                                                *
UNITED STATES OF AMERICA,
                                                *
                  Respondent.
_____________________________________           *


                                     JUDGMENT

      Pursuant to this Court’s Order dated July 6, 2023, and for the reasons stated therein,

JUDGMENT is hereby entered in favor of Respondent.

       This 7th day of July, 2023.

                                         David W. Bunt, Clerk


                                         s/ Elizabeth S. Long, Deputy Clerk
